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                       Exhibit 7
                        (Redacted)




                                 Exhibit 7
                         OCM Summary of Profit / Loss

                         Cost/CTN   Conversion:    Sold     OCM             OCM
  Description                                                                            LW0036
                          (RMB)     Rate: $6.87   (USD)   Profit/Ctn   Extended Profit
香飘飘    泰式青柠     15/CTN                                                 $      6,684.73     487
香飘飘    桃桃红柚     15/CTN                                                 $      8,578.97     625
香飘飘    金桔柠檬     15/CTN                                                 $      8,496.61     619
兰芳园    丝袜奶茶     15/CTN                                                 $     31,557.15    1678
香飘飘    牛乳茶      15/CTN                                                 $     17,002.04    1159
香飘飘    芋头奶茶     30/CTN                                                 $      2,126.83     163
香飘飘    原味奶茶     30/CTN                                                 $      3,692.59     283
香飘飘    麦香奶茶     30/CTN                                                 $      2,687.90     206
香飘飘    草莓奶茶     30/CTN                                                 $      1,839.77     141

                                                          Total:       $ 82,666.59
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OCM - 0001                                                                         CONFIDENTIAL
                                                                           (ATTORNEYS EYES ONLY)
